         Case 5:20-mj-00255-SM Document 13 Filed 06/08/20 Page 1 of 1



             IN THE UNITED STATES DISTRICT COURT FOR THE
                    WESTERN DISTRICT OF OKLAHOMA

UNITED STATES OF AMERICA,                            )
                                                     )
                    Plaintiff,                       )
                                                     )
             -vs-                                    )   Case No. MJ-20-255-SM
                                                     )
CHRISTOPHER STEVEN LEDBETTER,                        )
                                                     )
                    Defendant.                       )


               WRIT OF HABEAS CORPUS AD PROSEQUENDUM

The President of the United States to the United States Marshal for the Western District of
Oklahoma or any United States Marshal, and the Warden or Superintendent:

      GREETINGS: You are hereby commanded to proceed to the Logan County Jail

and there take and receive Lincoln County Inmate Christopher Steven Ledbetter (DOB:

XX/XX/1990; SSN: XXX-XX-1469), who was arrested on June 4, 2020 on an arrest

warrant out of Lincoln County, Oklahoma, and keep him in your custody and bring him

before the United States District Court for the Western District of Oklahoma on June 5,

2020, at 3:00 p.m., for any hearings necessary in this case and then return him to the

custody of the Lincoln County Jail, 811 Manvel Ave # 14 Chandler, OK, 74834, or do as

otherwise ordered by the Court.

      DATED this 8th day of June, 2020.

                                              CARMELITA REEDER SHINN
                                              Clerk of the United States District Court
                                              for the Western District of Oklahoma

                                              By:    /s/ Lesa Boles
                                                            DEPUTY
